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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF OREGON


 SCOTT SIGMAN, Individually and On              CASE No.: 3:23-cv-01689-IM (Lead
 Behalf of All Others Similarly Situated,       Case)

              Plaintiff,                        Case No.: 3:23-cv-01956-IM (Trailing
              V.                                Case)
NUSCALE POWER CORPORATION, JOHN
L. HOPKINS, CHRIS COLBERT, ROBERT R. CLASS ACTION
HAMADY, and CLAYTON SCOTT,
                                     REPLY MEMORANDUM OF LAW
            Defendants.              OF LAWRENCE LO IN FURTHER
                                     SUPPORT OF HIS LEAD
                                     PLAINTIFF MOTION

                                                ORAL ARGUMENT REQUESTED
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       Lead Plaintiff Movant Lawrence Lo ("Lo") submits this reply in further opposition to

movant Dr. Kevin Liang Li ("Dr. Li"). Lo is the presumptive Lead Plaintiff as he has the largest

losses ($68,250) and has made a prima facie showing of his adequacy and typicality. 15 U.S.C.

§78u-4(a)(3)(B)(iii)(I). Lo lives in Hong Kong, has a double bachelor's degree, and is a full-time

investor. Dkt. No. 12, at 9. As Dr. Li has failed to submit the requisite proof to rebut the

presumption favoring Lo, the court should appoint him Lead Plaintiff and approve his selection

of counsel. "The PSLRA requires `proof' to overcome the presumption entitling the plaintiff

with the largest financial interest [to appointment as lead plaintiffj; speculative assertions are

insufficient" Doherty v. Pivotal Software, Inc., 2019 WL 5864581 (N.D. Cal. Nov. 8, 2019)

(citations omitted). In Opposition, Dr. Li advances three meritless arguments: (A) Lo doesn't

have the largest fmancial interest; (B) Lo, a Hong Kong resident, may be subject to travel
                                                                                         A

restrictions; and (C) Lo is atypical and subject to unique defenses. See Opp. at 4-5, 7-9.

       A.      LO HAS THE LARGEST FINANCIAL INTEREST

       Dr. Li argues that while he has smaller losses, he has the largest financial interest because

he has larger amounts for the other three Olsten-Lax factors: (1) shares purchased; (2) net shares

purchased; and (3) net funds expended. He is wrong. Courts in this Circuit hold that the fourth

factor—approximate loss—is most determinative in assessing financial interest. See In re

Cheetah Mobile, Inc. Securities Litigation, 2021 WL 99635 at *3-4 (C.D. Cal. Jan. 12, 2021)

(holding that loss is the most important factor, appointing movant with largest loss irrespective

of other factors); Knox v. Yingli Green Energy Holding Company Limited, 136 F.Supp.3d 1159,

1165 (same); Richardson v. TVIA Inc. 2007 WL 1129344 at *3-4, 6 (N.D. Cal. Apr. 16, 2007)

(same); In re Bally Total Fitness Sec. Litig., 2005 WL 627960, at *4 (N.D. Ill. Mar. 15, 2005)

(N.D. Ill. Mar. 15, 2005) ("The best yardstick by which to judge `largest financial interest' is the

amount of loss, period.").' In re Wrap Technologies, 2021 WL 71433 at *2-3 (C.D. Cal. Jan. 7,
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2021) is on point. The court rejected a movant who led on the first three Olsten-Lax factors and

appointed a movant with the largest loss, holding that "[i]n this circuit, no case law requires the

Court to give equal weight to the first three [factors]. While some courts have weighed

the factors equally, "[c]ourts in the Ninth Circuit have tended to give the final factor the most

emphasis[.]" Further, "[i]n accordance with the weight of authority, the Court finds that the

approximate losses suffered is the most important consideration." Id.

       Dr. Li's reliance on In re Network Assocs., Inc. Sec. Litig., 76 F. Supp. 2d 1017, 1027

(N.D. Cal. 1999) is misplaced, as that court used a net shares methodology where "[t]he test

simply reduces to the net number of shares bought and sold during the class period", to deduce

which movant had the greatest loss. See Id. This method was not advanced in Dr. Li's opening

papers. See Dkt. No. 16, at 8. Here's why. The net shares methodology is not useful if, as here,

there is more than one corrective disclosure. See Nicolow v. Hewlett Packard Co., 2013 WL

792642 at *4 (N.D. Cal. Mar. 4, 2013) (net shares less useful when there are multiple corrective

disclosures); Weiss v. Friedman, Billings, Ramsey Grp., Inc., 2006 WL 197036, at *4 (S.D.N.Y.

Jan. 25, 2006) ("the fact that [movant] has [prevailed on] the second Lax factor (net shares

purchased) diminishes in importance [when, as here], partial corrective disclosures were

[periodically reaching investors] Thus, [though] the [Trust's] shares were sold before the class

period ended, one [wouldn't necessarily have to conclude that its] losses are unattributable to the

alleged fraudulent inflation.").

       Dr. Li argues that the difference between his and Lo's loss "is just $11,746.11" and cites

noncontrolling law to argue the first three Olsten-Lax factors should be granted greater weight

and overcome the fourth factor, as the difference "in alleged losses is relatively small."'None of


 Dr. Li's counsel routinely takes the same position. E.g. Olsson v. PLDT lac., et al, 2:23-cv-
00885-CJC-MAA, 2023 WL 3139912 at *2 (C.D. Cal. Apr. 26, 2023), Dkt. No. 14, at 2-3;
Wilhite v. Expensify, Inc. eta!, 3:23-cv-01784-JR (D. Or. 2023), Dkt. No. 18, at 3-4.
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his cases apply. In TransDigrn, 2017 WL 6028213 at *2 (RD. Ohio Dec. 5, 2017) the court

appointed the movant with the second largest loss by doing a comparative analysis of adequacy.

See Id. at *3. Such analysis is contrary to Ninth Circuit law. See In re Cavanaugh, 306 F.3d 726,

732 (9th Cir. 2002)?

       B.      LO IS TYPICAL AND ADEQUATE.

       Lo's Hong Kong Residency: Dr. Li speculates that Lo "may or may not be subject to a

number of travel restrictions (presently and in the future)." See Opp. at 7. Dr. Li presents no

proof of any current or contemplated restrictions. This falls short of the requisite proof. See

Marquez v. Bright Health Group, Inc., 2022 WL 1314812 at *9 (E.D.N.Y. Apr. 26, 2022)

(rejecting the same arguments and appointing Hong Kong movant as lead plaintiff).^ Dr. Li's

speculation that there may be language barriers—is false. Lo is fluent in English.5

       Lo's Trading Pattern Does not Make him Atypical or Inadequate: Dr. Li claims that

Lo is subject to a unique defense because he purchased shares "only 10 days before the first

corrective disclosure, and then sold all of his shares after the first corrective disclosure[.]" Opp.,

at 8. This argument is nonsense. Dr. Li cites no cases holding that a movant is subject to a unique

Y
   In Wilhite v. Expensify, Inc., 3:23-cv-01784-JR (2023) (D. Or.), Dkt. No 18, at 4, Dr. Li's
counsel recently argued their client had "over $8,000 more in losses as compared to [...] the
movant with the second largest financial interest" and thus has the largest financial interest.
' Dr. Li's other cases fare no better. In Sunopta the movant was "comprised of two institutional
investors, each with significant losses" and the other was "individual investors who have
combined only for purposes of this litigation." Juliar v. Sunopta Die., 2009 WL 1955237 at *2
(S.D.N.Y. Jan. 30, 2009). In Police & Fire Ret. Sys. of City of Detroit v. SafeNet, Inc., 2007 WL
7952453 (S.D.N.Y. Feb. 21, 2007) the movant with the larger loss, "claimed losses [that] may be
uncollectible." Id. at 2. In Doral, it was unclear who had the greatest loss due to competing
methodologies and five different class periods, hi re Dora! Financial Corp. Securities Litigation,
414 F.Supp.2d 398, 403 (S.D.N.Y. 2006).
   Dr. Li's counsel regularly files lead plaintiff motions with overseas movants. Tan v. NIO Inc.,
2020 WL 1031489 (E.D.N.Y. Mar. 3, 2020), Dkt. No. 32, 33-3 (Hong Kong); Burns v. Up
Fintech Holding Limited eta!, 2:23-cv-04842, 2024 WL 387261 (C.D. Cal. 2023), Dkt. No. 23,
23-6 (Singapore).
 5 Hong Kong has two official languages, English and Chinese.
 https://en.wikipedia.org/wiki/Hong Kong.
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defense on this basis. Rule 23's adequacy and typicality requirements do not require a lead

plaintiff to have standing to recover on each stock price decline. See Tsirekidze v. Syntax-Brillian

Corp., 2009 WL 2151838, at * 2 (D. Ariz. July 17, 2009) ("[N]othing in the PSLRA indicates

that [courts] must choose a lead plaintiff with standing to sue on every available cause of

action.") (quoting Hevesi v. Citigroup, Inc., 366 F.3d 70, 82 (2d Cir. 2008)).

       It is only required that a lead plaintiff "suffer[s] a concrete injury because of defendants'

wrongdoing, not every injury alleged by the class." In re Leapfrog Enterprises, Inc. Sec. Litig.,

2005 WL 3801587, at * 3 (N.D. Cal. Nov. 23, 2005) (citation omitted); Hanon v. Dataproducts

Corp., 976 F.2d 497, 508 (9th Cir. 1992) ("The test of typicality is whether other members have

the same or similar injury, whether the action is based on conduct which is not unique to the

named plaintiffs, and whether other class members have been injured by the same [conduct].")

(quotation and citation omitted). Indeed, "differences in [damages], the size or manner of [stock]

purchases, the nature of the purchaser, and even the [document] influencing the purchase will not

render a claim atypical in most securities cases." Tsirekidze, 2009 WL 215838, at * 4 (citation

and quotation omitted). Lo's claims are typical even if he didn't hold through the second

disclosure because he suffered a similar injury, based on the same fraud, as absent class

members. Lo held his shares through October 19, 2023, when the Iceberg Research report (the

"Report") revealed fraud in NuScale's business. In part, the Report questioned if one of

NuScale's contracts was viable, due to a lack of new subscribers. Dkt. No. 1, at 12. This

disclosure caused NuScale's shares to drop by 12% on October 19, 2023, and 14.9% on October

20, 2023. Id., at 13. The second disclosure was a press release which announced that the same

contract had been terminated because "it appears unlikely that the project will have enough

subscription to continue", confirming the Report's allegations. Dkt. No. 1, at 13. The second

disclosure stems from the same fraud the Report revealed. Lo's interests are aligned with
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investors who held through the second disclosure, who must, like Lo, prove the same fraud

detailed in the Report. That Lo can't personally seek recovery for the second disclosure doesn't

render him atypical or inadequate.

       Said differently, Lo and those who held through the second disclosure must both prove

the fraud set forth in the Report to recover, and so have the same incentive. See Tsirekidze, 2009

WL 2151838, at * 4 (rejecting argument plaintiff is atypical because he sold before a disclosure

since claims arise from same legal theories and facts as class, and dismissing argument he lacked

incentive to pursue claims for those who held longer); see also Parsons v. Ryan, 754 F.3d 657,

685 (9th Cit. 2014) (representative's claims must be similar but need not be identical to absent

class members; and the injuries must result from the same conduct.).6

                                        CONCLUSION

       For the foregoing reasons, including in Lo's opening and opposition papers, Lo's motion

should be granted in its entirety and the one remaining competing motion should be denied.

Dated: February 14, 2023                     Respectfully submitted,

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                                             [Proposed] Lead Counselfor Lead Plaintiff
                                             and Class



6 Dr. Li cites Bensley v. FalconStor Software, Inc., 277 F.R.D. 231, 240-241 (E.D.N.Y. 2011)
and In re Veeco Instruments, Inc. Sec. Litig., 233 F.R.D. 330, 333-34 (S.D.N.Y. 2006), which do
not apply because those movants sold all of their shares before any corrective disclosure. Here, it
is admitted that Lo sold his shares after a corrective disclosure.
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                            [Proposed] Liaison Counselfor Lead Plaintiff
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                             CERTIFICATE OF SERVICE

      I hereby certify that on February 14, 2024, a true and correct copy of the foregoing
document was served by CM/ECF to the parties registered to the Court's CM/ECF system.

                                  Is/ Phillip Kim




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